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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

WINDELL SINGLETON AND LINDA
WILLIAMS,

      Plaintiffs,
                                              CIVIL ACTION FILE
v.                                            NUMBER: CV419-27

MCLANE COMPANY, INC., TRANSCO,
INC., ACE AMERICAN INSURANCE
COMPANY AND ERIC LEAVIGNE,

      Defendants.

               STIPULATION FOR DISMISSAL WITH PREJUDICE

      The above action having been fully compromised and settled,

      IT IS HEREBY STIPULATED by and between the parties hereto, through their

respective undersigned counsel of record, that this action, including all of plaintiff’s

claims and potential claims, whether or not asserted, is dismissed on the merits and with

prejudice, but without costs to any party.

      DATED: January 22, 2020.
                                             /s/ C. Joel Osteen
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[ Stipulation for Dismissal with Prejudice – Civil Action No.:CV419-27 ]




                                   /s/ Jason S. Stewart
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